                 UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION



COMPLAINT:        Dr. Barry Shepherd                          Civil Action# 5·. \g-~'1-\8'(p



Dr. Barry Shepherd, in his own Individual Capacity,engaged in discriminatory practices with
malice and with reckless indifference to the federally protected rights of Plaintiff


Defendant Dr.Barry Shepherd, Superintendent, in his own capacity, maliciously interfered with
Plaintiff's contract and upset her substantive right to work by making pejorative statements
about her professional abilities in communications throughout the Cabarrus County School
System. He spoke these falsehoods to his staff and also put them in writing.

Violation of A.D.A:

In October, 2008, in response to Plaintiff's application: for reemployment said, in part-

"You were not selected for a position due to peiformance issues that arose during your
employment with us in the Fall of 2006. Your Principal had concerns about your work
peifonnance and was in the process ofp1·eparing an Action Plan to add1·ess pe1formance
issues at the time ofyour accident in January 2007".

This is untrue. There were no "performance issues" and no "Action Plan".

Violation of H.I.P.A.A:

The Superintendent also violated H.I.P.A.A regulations regarding confidentiality by specifically
naming Plaintiff's disabilities in administrative records which were included in the open
Cabarrus County Personnel File. Also included in the open personnel file were copies of
Plaintiff's hospital records and other documents which were related to Plaintiff's application for
disability. These confidential documents disclosed the details of the disabling event and the
resultant disabilities.

Denial of Right to Work:

Other non-published and confidential information was made available to the public, including
prospective employers, thereby illterfering with Plaintiff's substantive right to work.




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Corrupt and Malicious:

Since Defendant had access to Plaintiff's Medical Records, he could see documents which
diagnosed the emotional upheaval Defendant's actions were causing for Plaintiff.

These actions of the Defendant were corrupt and malicious. Moreover, the promise to take away
from all the Ptincipals in Cabairus County the privilege and duty to select teachers whom they
feel would be an asset to their schools was an act of bad faith. Also, the personal rejection of an
applicant would be outside the scope of the Defendant's authority. The hiring of teachers is the
responsibility of the School Board.

Violation of Due Process:

Defendant, in his own capacity, erred in refusing to permit renewal of Plaintiffs
contract.Defendant erred also in dismissing Plaintiff from employment without satisfying the
procedural requirements set forth in G.S. 115C-325(e) for a career teacher, and in so doing
violated the "Due Process" requirement of the United States Constitution.




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